                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF KANSAS AT WICHITA

In Re:                                                               )
                                                                     )
Carl David Ray dba Allied Medical LLC dba Medical                    )
Dynamics LLC dba Ray Development LLC dba Trinity                     )   Case No. 16-10807
Medical Group LLC and Donna B Ray dba Allied Medical                 )
LLC dba Medical Dynamics LLC dba Ray Development LLC                 )
dba Trinity Medical Group LLC, Debtors                               )
                                                                     )
Bank of America, N.A., Creditor                                      )   Chapter: 7
                                                                     )
vs.                                                                  )
                                                                     )
Carl David Ray dba Allied Medical LLC dba Medical                    )
Dynamics LLC dba Ray Development LLC dba Trinity                     )
Medical Group LLC and Donna B Ray dba Allied Medical                 )
LLC dba Medical Dynamics LLC dba Ray Development LLC                 )
dba Trinity Medical Group LLC, Debtors                               )
                                                                     )
and                                                                  )
                                                                     )
Darcy D. Williamson, Trustee                                         )

                         LIMITED MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                  TO COMPLETE LOAN MODIFICATION

         Bank of America, N.A., its successors or assigns, (“Creditor”), in support of its motion, states as

follows:

         1.         Creditor files this motion under Rules 4001 and 9014, Rules of Bankruptcy Procedure.

On May 6, 2016, Debtors filed a Petition for Adjustment of Debts under Chapter 7 of the Bankruptcy

Code wherein Creditor was listed as a secured creditor as to real property of Debtors.

         2.         Jurisdiction is invoked in the District Court under 28 U.S.C. §1334(a) and jurisdiction is

proper in this Court pursuant to 28 U.S.C. §1408(1) and §157(b)(2)(G). This is a core proceeding.

         3.         Debtors have conducted negotiations with the Debtors’ current mortgage lender, Bank of

America, N.A. (the Lender), in an attempt to reach agreement on a modification of the loan secured by the

Debtors’ residential real estate located at 329 N Lancaster, Wichita, KS 67230 (the Loan). The Debtors

and the Lender have reached such an agreement to modify the Loan (the Agreement).



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        4.          The terms of the Agreement are as follows:

             •      Modified Principal Balance: $245,086.26
             •      Interest Rate: 4.375%
             •      Monthly P&I Amount: $1,082.20 from 8/1/2019 – 6/1/2059 with one final payment of
                    $1,215.49 on 7/1/2059
             •      Payments begin on August 1, 2019
             •      Term in Months: 480

        5.          The Creditor requests that the Automatic Stay be lifted for the limited purpose of

allowing the Debtors and the Lender to enter into the Agreement.

        WHEREFORE, premises considered, the Creditor requests that the Court grant the relief requested

in this Motion and any other such relief to which the Creditor may be entitled.



SOUTHLAW, P.C.
_s/ Lisa C. Billman__________________________________
Steven L. Crouch, (MBE #37783; EDMO #2903; KSFd #70244)
Wendee Elliott-Clement (MBE #50311; KS #20523)
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ATTORNEYS FOR CREDITOR




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                              CERTIFICATE OF MAILING/SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing was filed electronically
on this August 13, 2019 with the United States Bankruptcy Court for the District of Kansas , and shall be
served on the parties in interest via email by the Court pursuant to CM/ECF as set out on the Notice of
Electronic Filing as issued by the Court and shall be served by U.S. Mail, First Class, postage prepaid, on
those parties directed by the Court on the Notice of Electronic Filing issued by the Court and as required
by the Federal Rules of Bankruptcy Procedure and the Local Rules of the United States Bankruptcy
Court.

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Donna B Ray
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TRUSTEE

Office of the United States Trustee
301 North Main, Suite 1150
Wichita, KS 67202
U.S. TRUSTEE



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_s/ Lisa C. Billman__________________________________
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